IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 IN RE:                           CASE NO. 19-13276

                Gail Spangler                     CHAPTER 13

                       Debtor.                    JUDGE: Cecelia G. Morris

                CONSENT ORDER ON MOTION FOR RELIEF FROM STAY

1.      The above-styled Motion having been scheduled for a hearing before the Court on October
29, 2020, upon Notice of Assignment of Hearing to each of the above-captioned parties in interest,
and it appearing to the Court that the parties consent hereto:

2.      FURTHER IT IS HEREBY ORDERED that the Motion for Relief from Stay is denied,
as the parties herein agree that the interest of Movant is adequately protected by payment and
performance as more particularly set forth hereinafter.

3.     FURTHER ORDERED that as of October 1, 2020, the post-petition arrearage is as
follows, pursuant to the terms of the Note, as set forth in the chart below:

 Number of     From         To             Monthly      Monthly       Monthly       Total of
 Missed                                    Missed       Missed        Payment       Monthly
 Payments                                  Principal    Escrow (if    Amount        Payments
                                           and          applicable)                 Missed
                                           Interest
 12            11/1/2019 10/1/2020 $6,379.69            $1,288.50     $7,668.19     $92,018.28
 1             11/1/2020 11/30/2020 $6,379.69           $1,326.73     $7,706.42     $7,706.42
 Less post-petition partial payments (suspense balance):0.00

                                                 Total $99,724.70

4.      This arrearage shall be paid as follows:
        Debtor is ordered to make the following payments to cure the post-petition arrearage and
        other amounts owing set forth in paragraph 3:

                     Month Stipulation                         Monthly Stipulation
                      Payment due                               Payment Amount
         11/1/2020                                   $50,000.00
         1/1/2021                                    $5,524.97
         2/1/2021                                    $5,524.97
         3/1/2021                                    $5,524.97
         4/1/2021                                    $5,524.97
         5/1/2021                                    $5,524.97
         6/1/2021                                    $5,524.97
         7/1/2021                                    $5,524.97


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         8/1/2021                                       $5,524.97
         9/1/2021                                       $5,524.94

5.     Regular payments in the amount of $7,668.19 to be paid on or before December 30, 2020
and any additional amount as required or allowed by the Note and Security Instrument. Payments
should be sent to: Select Portfolio Servicing, Inc. Attn: Remittance Processing P.O. Box 65450
Salt Lake City, UT 84165-0450.

6.      FURTHER ORDERED that should Debtor(s) default in payment of any sum specified
herein, or in any regular monthly mortgage payments which come due according to Movant’s Loan
Documents, for the life of the bankruptcy then upon notice of default sent by first class mail to
Debtor(s), attorney for Debtor(s) and the Trustee, and failure of Debtor(s) to cure such default
within 10 days from the date of receipt of such notice, Movant may file a motion and affidavit of
default, with service upon Debtor(s), attorney for Debtor(s) and the Trustee, and the Court may
enter an Order releasing Movant from the automatic stay, without further notice or hearing.

7.     FURTHER ORDERED that in the event relief from the automatic stay is later granted, the
Trustee shall cease funding any balance of Movant’s claim, and the provisions of Fed. R. Bank. P.
4001(a)(3) may be waived.

8.      FURTHER ORDERED that upon completion of any foreclosure sale, any funds in excess
of the amount due to Movant and to any subordinate lienholder(s) properly entitled to receive
proceeds under applicable State Law that would otherwise be payable to the Debtor(s), shall be
paid to the Trustee by the entity receiving the funds from the foreclosure sale for the benefit of the
Estate while the Debtor(s) remains in bankruptcy.

Dated this 28th day of December, 2020

/S/Ted Eric May, Esq.                                 /S/Wendy Weathers
Attorney for Creditor                                 Debtor’s Attorney




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